Case 2:07-cv-05744-R-AJW Document 539-2 Filed 07/20/09 Page 1 of 40 Page ID
                                #:15008


 1
 2
 3
 4
 5
 6
 7
 8
 9                            UNITED STATES DISTRICT COURT
10                           CENTRAL DISTRICT OF CALIFORNIA
11                                 WESTERN DIVISION
12 UMG RECORDINGS, INC., et al.,         ) Case No. CV-07-05744 AHM (AJWx)
                                         )
13                                       )
                    Plaintiffs,          ) FINAL PRETRIAL
14                                       ) CONFERENCE ORDER
                                         )
15             v.                        )
                                         )
16                                       )
     VEOH NETWORKS, INC.,                )
17                                       )
                                         )
18                  Defendant.           )
                                         )
19
20
21
22
23
24
25
26
27
28
     2096530                                              FINAL PRETRIAL CONFERENCE ORDER



                                                               Exhibit A Page 2
Case 2:07-cv-05744-R-AJW Document 539-2 Filed 07/20/09 Page 2 of 40 Page ID
                                #:15009


 1                                       TABLE OF CONTENTS
 2                                                                                                                 Page
 3     SECTION 1.         THE PARTIES: ........................................................................... 1
 4     SECTION 2.         FEDERAL JURISDICTION AND VENUE ARE
                          INVOKED UPON THE GROUNDS:......................................... 1
 5
       SECTION 3.         THE TRIAL IS ESTIMATED TO TAKE: ................................. 1
 6
       SECTION 4.         THE TRIAL IS TO BE A JURY TRIAL.................................... 1
 7
       SECTION 5.         THE FOLLOWING FACTS ARE ADMITTED AND
 8                        REQUIRE NO PROOF: .............................................................. 2
 9     SECTION 6.         THE FOLLOWING FACTS, THOUGH STIPULATED,
                          SHALL BE WITHOUT PREJUDICE TO ANY
10                        EVIDENTIARY OBJECTIONS:................................................ 2
11     SECTION 7.         BELOW ARE THE CLAIMS AND DEFENSES TO BE
                          PRESENTED AT TRIAL: .......................................................... 4
12
                          Plaintiffs:
13
                          (a)     UMG plans to pursue the following claims
14                                against Veoh: .....................................................................4
15                        (b)     The elements required to establish UMG's
                                  claims are:..........................................................................5
16
                          (c)     In brief, the key evidence UMG relies on for
17                                each of the claims is: .........................................................6
18                        Defendant:
19                        (a)     Veoh intends to pursue the following
                                  affirmative defenses at trial: ..............................................9
20
                          (b)     The elements required to establish Veoh's
21                                affirmative defenses are:..................................................12
22                        (c)     In brief, the key evidence Veoh relies on for
                                  each affirmative defense is: .............................................22
23
       SECTION 8.         IN VIEW OF THE ADMITTED FACTS AND THE
24                        ELEMENTS REQUIRED TO ESTABLISH THE
                          CLAIMS AND AFFIRMATIVE DEFENSES, THE
25                        FOLLOWING ISSUES REMAIN TO BE TRIED:.................. 33
26     SECTION 9.         ALL DISCOVERY IS COMPLETE......................................... 34
27     SECTION 10. ALL DISCLOSURES UNDER FED. R. CIV. P. 26(a)(3)
                   HAVE BEEN MADE................................................................ 35
28


     2096530.1 04                                      -i-                                 Exhibit A Page 3
Case 2:07-cv-05744-R-AJW Document 539-2 Filed 07/20/09 Page 3 of 40 Page ID
                                #:15010


 1                                                                                                       Page
 2
 3     SECTION 11. WITNESS LISTS OF THE PARTIES HAVE BEEN
                   FILED WITH THE COURT. .................................................... 35
 4
       SECTION 12. THE FOLLOWING LAW AND MOTION MATTERS
 5                 AND MOTIONS IN LIMINE, AND NO OTHERS,
                   ARE PENDING OR CONTEMPLATED:................................ 36
 6
       SECTION 13. BIFURCATION OF THE FOLLOWING ISSUES IS
 7                 ORDERED: ............................................................................... 36
 8     SECTION 14. THE FOREGOING ADMISSIONS HAVING BEEN
                   MADE BY THE PARTIES, AND THE PARTIES
 9                 HAVING SPECIFIED THE FOREGOING ISSUES
                   REMAINING TO BE LITIGATED, THIS FINAL
10                 PRETRIAL CONFERENCE ORDER SHALL
                   SUPERSEDE THE PLEADINGS AND GOVERN THE
11                 COURSE OF THE TRIAL OF THIS CASE, UNLESS
                   MODIFIED TO PREVENT MANIFEST INJUSTICE. ........... 37
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


     2096530.1 04                                     - ii -                         Exhibit A Page 4
Case 2:07-cv-05744-R-AJW Document 539-2 Filed 07/20/09 Page 4 of 40 Page ID
                                #:15011


 1             Following pretrial proceedings, pursuant to Rule 16, Fed. R. Civ. P. and L.R.
 2 16, IT IS ORDERED:
 3             1.    THE PARTIES:
 4             The plaintiffs are UMG Recordings, Inc., Universal Music Corp., Songs of
 5 Universal, Inc., Universal-Polygram International Publishing, Inc., Rondor Music
 6 International, Inc., Universal Music – MGB NA LLC, Universal Music – Z Tunes
 7 LLC, and Universal Music – MGB Music Publishing Ltd. (collectively, "UMG").
 8 The defendant is Veoh Networks, Inc. ("Veoh").
 9             Each of these parties has been served and has appeared. All other parties
10 named in the pleadings and not identified in the preceding paragraph are now
11 dismissed.
12             The pleadings which raise the issues are: UMG's Second Amended Complaint
13 for Direct, Contributory, and Vicarious Copyright Infringement, and for Inducement
14 of Copyright Infringement, and Answer of Veoh to UMG's Second Amended
15 Complaint.
16             2.    FEDERAL JURISDICTION AND VENUE ARE INVOKED
17 UPON THE GROUNDS:
18             This is a civil action concerning alleged copyright infringement on Veoh’s
19 client software and website relating to UMG’s sound recordings and musical
20 compositions. Jurisdiction is asserted under 17 U.S.C. § 510 and 28 U.S.C. §§ 1331
21 and 1338(a). The facts requisite to federal jurisdiction are admitted.
22             3.    THE TRIAL IS ESTIMATED TO TAKE:
23             10-15 trial days.
24             4.    THE TRIAL IS TO BE A JURY TRIAL.
25             At least five (5) court days prior to the trial date each party shall file and serve
26 by e-mail, fax, or personal delivery: (a) proposed jury instructions as required by
27 L.R. 51-1 and (b) any special questions requested to be asked on voir dire.
28
     2096530                                                            FINAL PRETRIAL CONFERENCE ORDER
                                                  -1-

                                                                             Exhibit A Page 5
Case 2:07-cv-05744-R-AJW Document 539-2 Filed 07/20/09 Page 5 of 40 Page ID
                                #:15012


 1             Veoh has also asserted equitable defenses to be resolved by the Court. At
 2 least five (5) court days prior to the trial date each party shall lodge and serve by e-
 3 mail, fax, or personal delivery the findings of fact and conclusions of law the party
 4 expects the Court to make upon proof at the time of trial as required by L.R. 52-1.
 5 Veoh's position is that Local Rule 52-1 is only applicable to non-jury trials, and
 6 because this is a jury trial, Local Rule 52-1 is inapplicable here.
 7             5.      THE FOLLOWING FACTS ARE ADMITTED AND REQUIRE
 8 NO PROOF:
 9             None.
10             6.      THE FOLLOWING FACTS, THOUGH STIPULATED, SHALL
11 BE WITHOUT PREJUDICE TO ANY EVIDENTIARY OBJECTIONS:
12             The following facts, though stipulated, shall be without prejudice to any
13 evidentiary objections:
14             (a)     Veoh provides a website (veoh.com) and a client software application
15 (the "Veoh Client"). Through both, users can upload and view video content.
16             (b)     Veoh consists of two principal components (i) the veoh.com website
17 where, among other things, users can share, view, and browse videos available
18 through Veoh, create a user account and profile, and interact with other users; and
19 (ii) an optional software application, which allows uploading and downloading of
20 videos.
21             (c)     Users can upload and view videos either through the veoh.com website
22 or through the Veoh Client.
23             (d)     Veoh utilizes third party software to convert user-submitted videos into
24 Flash format.
25             (e)     Audible Magic's service works by taking an audio fingerprint from
26 video files and matching it against Audible Magic's database of content.
27             (f)     In the summer of 2007, Veoh began working with Audible Magic and
28 testing its filtering technology.
     2096530                                                          FINAL PRETRIAL CONFERENCE ORDER
                                                  -2-

                                                                           Exhibit A Page 6
Case 2:07-cv-05744-R-AJW Document 539-2 Filed 07/20/09 Page 6 of 40 Page ID
                                #:15013


 1             (g)   After a period of testing, Veoh put Audible Magic's filtering system
 2 into production in October of 2007.
 3             (h)   Veoh offered a beta version of the Veoh Client in September 2005.
 4             (i)   The Veoh Client was a software product that one could download over
 5 the Internet to his computer.
 6             (j)   Veoh users could upload videos to Veoh's system through the Veoh
 7 Client.
 8             (k)   Persons uploading a video through the Veoh Client could provide
 9 various data about the video, such as a title or a description, and place the video in a
10 category, such as drama, comedy, or music.
11             (l)   Veoh made videos available for viewing on its Internet website in
12 February or March 2006.
13             (m)   Viewers could search for videos through Veoh's website.
14             (n)   Veoh does not terminate a user solely based upon identification of two
15 videos by Audible Magic.
16             (o)   Veoh's current Terms of use state: "Veoh may, without notice to You,
17 remove or block any Video Content from the Veoh Service."
18             (p)   Veoh's Terms of Use dated February 27, 2006 state: "Veoh may,
19 without notice to You, remove or block content of any User Material from the Veoh
20 Service, including disabling access to such User Material that you have downloaded
21 through the Veoh Service."
22             (q)   Veoh's Terms of Use dated April 25, 2006 state: "Veoh may, without
23 notice to You, remove or block content of any User Material from the Veoh Service,
24 including disabling access to such User Material that you have downloaded through
25 the Veoh Service."
26             (r)   Veoh's Terms of Use dated June 23, 2006 state: "Veoh may, without
27 notice to You, remove or block content of any User Material from the Veoh Service,
28
     2096530                                                        FINAL PRETRIAL CONFERENCE ORDER
                                               -3-

                                                                         Exhibit A Page 7
Case 2:07-cv-05744-R-AJW Document 539-2 Filed 07/20/09 Page 7 of 40 Page ID
                                #:15014


 1 including disabling access to such User Material that you have downloaded through
 2 the Veoh Service."
 3             (s)   Veoh’s current Terms of Use state that: "You agree to abide by all
 4 applicable local, state, national and international laws and regulations, including,
 5 without limitation, all intellectual property laws (such as U.S. copyright laws). Any
 6 unauthorized use of the Veoh Service is expressly prohibited."
 7             (t)   Veoh's current Copyright Policy states that "Veoh takes copyright and
 8 other intellectual property rights very seriously. It is Veoh’s policy to (1)
 9 expeditiously block access to or remove content that it believes in good faith may
10 contain material that infringes the copyrights of third parties and (2) remove and
11 discontinue service to repeat offenders."
12             (u)   Veoh’s current “Copyright Policy” sets forth Veoh’s procedures for
13 “Notifications” regarding copyrighted works.
14             (v)   Veoh provides and displays a unique locater called a “permalink” for
15 each video.
16             7.    BELOW ARE THE CLAIMS AND DEFENSES TO BE
17 PRESENTED AT TRIAL:
18             PLAINTIFFS:
19                   (a)   UMG plans to pursue the following claims against Veoh:
20             Claim 1:    Veoh directly infringed UMG's copyrights in violation of the
21 Copyright Act, 17 U.S.C. § 101 et seq.
22             Claim 2:    Veoh contributorily infringed UMG's copyrights in violation of
23 the Copyright Act, 17 U.S.C. § 101 et seq.
24             Claim 3:    Veoh vicariously infringed UMG's copyrights in violation of the
25 Copyright Act, 17 U.S.C. § 101 et seq.
26             Claim 4:    Veoh induced infringement of UMG's copyrights in violation of
27 the Copyright Act, 17 U.S.C. § 101 et seq.
28
     2096530                                                       FINAL PRETRIAL CONFERENCE ORDER
                                               -4-

                                                                        Exhibit A Page 8
Case 2:07-cv-05744-R-AJW Document 539-2 Filed 07/20/09 Page 8 of 40 Page ID
                                #:15015


 1             Prayer for Relief: The Copyright Act, 17 U.S.C. § 101 et seq., entitles UMG
 2 to statutory damages for Veoh's infringement.
 3                   (b)   The elements required to establish UMG's claims are:
 4             Claim 1:    Direct Copyright Infringement. UMG has the burden of proving:
 5 (1) UMG is the owner of valid copyrights; and (2) Veoh copied original elements
 6 from the copyrighted works. Ninth Circuit Manual of Model Jury Instructions: Civil
 7 §§ 17.1, 17.4 (2007).
 8             Claim 2:    Contributory Copyright Infringement. UMG has the burden of
 9 proving: (1) direct copyright infringement by Veoh's users; (2) Veoh knew or had
10 reason to know of the infringing activity; and (3) Veoh materially contributed to the
11 infringing activity. Ninth Circuit Manual of Model Jury Instructions: Civil § 17.21
12 (2007).
13             Claim 3:    Vicarious Copyright Infringement. UMG has the burden of
14 proving: (1) direct copyright infringement by Veoh's users; (2) Veoh profited
15 directly from the infringing activity; (3) Veoh had the right and ability to supervise
16 or control the direct infringing activity; and (4) Veoh failed to exercise that right and
17 ability. Ninth Circuit Manual of Model Jury Instructions: Civil § 17.20 (2007).
18             Claim 4:    Inducing Copyright Infringement. UMG has the burden of
19 proving: (1) direct copyright infringement by Veoh's users; (2) that Veoh knew or
20 had reason to know of the direct infringing activity; and (3) Veoh intentionally
21 induced the activity. Metro-Goldwyn-Mayer Studios, Inc. v. Grokster, Ltd., 545
22 U.S. 913, 935 (2005); Perfect 10, Inc. v. Visa Int’l Serv. Ass’n, 494 F.3d 788 (9th
23 Cir. 2007); Ninth Circuit Manual of Model Jury Instructions: Civil § 17.21 (2007).
24             Prayer for Relief: Statutory Damages. UMG is entitled to statutory damages
25 between $750 and $30,000 per infringed work, unless the jury concludes that
26 Veoh’s infringement is willful (in which case UMG is entitled to statutory damages
27 of up to $150,000 per work) or if the jury concludes that Veoh’s conduct was
28
     2096530                                                      FINAL PRETRIAL CONFERENCE ORDER
                                               -5-

                                                                       Exhibit A Page 9
Case 2:07-cv-05744-R-AJW Document 539-2 Filed 07/20/09 Page 9 of 40 Page ID
                                #:15016


 1 innocent (in which case UMG is entitled to statutory damages of no less than $200
 2 per work). Ninth Circuit Manual of Model Jury Instructions: Civil § 17.25 (2007).
 3                   (c)   In brief, the key evidence UMG relies on for each of the
 4 claims is:
 5             Claim 1:    Direct Copyright Infringement.1 UMG will introduce the
 6 following categories of evidence establishing that Veoh willfully reproduced,
 7 adapted, performed, and distributed the videos at issue in suit. As to element (1),
 8 UMG will introduce:
 9 • Evidence of copyright registrations for the works embodied in the videos at issue
10        in suit.
11 As to element (2), UMG will introduce:
12 • Evidence showing the videos in suit themselves, and showing those videos being
13        made publicly available on Veoh’s website;
14 • Veoh’s production of so-called “metadata” showing (among other things) that
15        Veoh’s users viewed and downloaded the videos-in-suit collectively millions of
16        times, and that Veoh itself tagged thousands of videos as “music videos;”
17 • Testimony from Veoh employees regarding the functionality of Veoh’s system
18        and operations. Such testimony will establish that Veoh (i) makes multiple
19        copies of UMG’s copyrighted works, (ii) transcodes those works into various
20        formats, (iii) prepares those works for distribution by creating additional copies
21        of those work, (iv) performs those works publicly by streaming the works from
22        its servers; and (v) distributes those works through a “download” button.
23 • Other documentary and testimonial evidence establishing that Veoh’s
24        infringement was knowing and willful, including the testimony showing that:
25        Veoh adopted head-in-the-sand policies toward infringing content; Veoh knew it
26        had no rights to any music content on its site but encouraged users to upload,
27
               1
          UMG also incorporates by reference the evidence cited below in conjunction
28 with Claims 2, 3, 4, and statutory damages.
     2096530                                                        FINAL PRETRIAL CONFERENCE ORDER
                                               -6-

                                                                       Exhibit A Page 10
Case 2:07-cv-05744-R-AJW Document 539-2 Filed 07/20/09 Page 10 of 40 Page ID
                                 #:15017


  1        view, and download music content regardless; Veoh knew its users were
  2        searching for and finding copyrighted content on its site; filtering solutions were
  3        available to Veoh at its founding, but Veoh chose not to implement these
  4        solutions; and Veoh itself designed a system for detecting improper content, but
  5        chose not to use that system to detect copyrighted materials.
  6             Claim 2:    Contributory Copyright Infringement.2 UMG will introduce the
  7 following categories of evidence establishing that Veoh is contributorily liable for
  8 its users’ infringement of the copyrighted works embodied in the videos in suit. As
  9 to element (1), UMG will introduce:
 10 • Evidence establishing that Veoh knew its system would be, and was, used for
 11        copyright infringement. For example, and without limitation, Veoh personally
 12        tagged thousands of videos (including many of the videos identified by UMG) as
 13        “music videos” in order to allow those videos to show up in Google searches.
 14        Veoh’s own employees were aware of rampant infringement on Veoh’s site, and
 15        press coverage and communications with investors and users confirm the same.
 16        Similarly, Veoh displayed willful blindness – which is equivalent to knowledge;
 17        e.g. In re Aimster Copyright Litig, 334 F.3d 643 (7th Cir. 2003) (“Willful
 18        blindness is knowledge[] in copyright law”) – by choosing not to implement any
 19        of a variety of available filtering solutions.
 20 As to element (2), UMG will introduce:
 21 • Evidence showing Veoh’s system and operations, in particular, showing that the
 22        system Veoh designed, implemented, and maintained, made multiple copies of,
 23        performed, and distributed copyrighted works.
 24             Claim 3:    Vicarious Copyright Infringement.3 UMG will introduce the
 25 following categories of evidence establishing that Veoh is vicariously liable for its
 26             2
            UMG also incorporates by reference the evidence cited above and below in
 27 conjunction with Claims 1, 3, and 4, and statutory damages.
          3
            UMG also incorporates by reference the evidence cited above and below in
 28 conjunction with Claims 1, 2, and 4, and statutory damages.
      2096530                                                        FINAL PRETRIAL CONFERENCE ORDER
                                                  -7-

                                                                        Exhibit A Page 11
Case 2:07-cv-05744-R-AJW Document 539-2 Filed 07/20/09 Page 11 of 40 Page ID
                                 #:15018


  1 users’ infringement of the copyrights embodied in the videos in suit. As to element
  2 (1), UMG will introduce:
  3 • Evidence that Veoh received a direct financial benefit from UMG’s copyrighted
  4        content, including by, among other things, collecting advertising revenue for ads
  5        placed alongside UMG’s copyrighted content. Veoh also used UMG’s
  6        copyrighted content as a “draw” to encourage others to come to Veoh’s website,
  7        for example, by tagging videos as “music videos” so that they would show up in
  8        Google searches for music videos by UMG’s artists. Moreover, the millions of
  9        views and downloads of these copyrighted works confirms that they were a
 10        significant draw to Veoh’s site.
 11 As to element (2), UMG will introduce:
 12 • Evidence that Veoh had the right to remove infringing content from its website
 13        as shown by, among other things, Veoh’s Terms of Use, which gave it the right
 14        to remove any content it chooses. Testimony of Veoh employees, among others,
 15        confirms the same.
 16 As to both elements (2) and (3), UMG will introduce:
 17 • Evidence (including testimony of Veoh and a third-party filtering company,
 18        called Audible Magic) that commercial filtering solutions were available, but that
 19        Veoh did not avail itself of those solutions.
 20 • Evidence that Veoh itself developed the means to filter infringing content, but
 21        instead expended resources removing content that advertisers and investors
 22        found objectionable.
 23             Claim 4:    Inducing Copyright Infringement. The above- and below-
 24 referenced evidence will also establish that Veoh is liable for inducing its users’
 25 infringement of the copyrights embodied in the videos in suit.
 26             Prayer for Relief: Statutory Damages. UMG will introduce the following
 27 categories of evidence establishing that Veoh’s infringement is willful (entitling
 28 UMG to statutory damages of up to $150,000 per work) or, that if it is not willful,
      2096530                                                       FINAL PRETRIAL CONFERENCE ORDER
                                                 -8-

                                                                       Exhibit A Page 12
Case 2:07-cv-05744-R-AJW Document 539-2 Filed 07/20/09 Page 12 of 40 Page ID
                                 #:15019


  1 that UMG is entitled to statutory damages for non-willful infringement (up to
  2 $30,000 per work):
  3 • Evidence that Veoh designed and operated its system without any basis for
  4        believing that its infringement was legal, thereby resulting in millions of
  5        infringing acts, and resulting in significant financial benefit to Veoh (in the form
  6        of tens of millions of dollars of venture capital cash infusions).
  7 • Evidence from UMG employees and experts that Veoh offers for free to users
  8        and without compensation to UMG, content that UMG otherwise sells or
  9        licenses.
 10 • Testimony from UMG employees and experts explaining the need to deter
 11        infringement in the online video market.
 12 • Evidence establishing that Veoh knew that its use of UMG’s copyrighted works
 13        required UMG's authorization, including but not limited to Veoh’s license
 14        agreements with other content providers.
 15 • Evidence that Veoh is owned and operated by sophisticated businesspeople,
 16        including those with significant media and copyright experience.
 17 • Evidence showing that Veoh could have, but chose not to, implement systems or
 18        procedures which would have reduced the incidence of infringement.
 19             DEFENDANT:
 20                    (a)   Veoh intends to pursue the following affirmative defenses at
 21 trial:
 22              First Affirmative Defense (Failure to State a Claim for Relief): Plaintiffs’
 23                Complaint fails to state a claim upon which relief may be granted.
 24              Second Affirmative Defense (17 U.S.C. § 512): Plaintiffs’ claims are
 25                barred by the statutory immunity granted to service providers under 17
 26                U.S.C. § 512.
 27              Third Affirmative Defense (No Primary Liability): Plaintiffs’ claims
 28                based upon secondary liability are barred because Plaintiffs cannot
      2096530                                                         FINAL PRETRIAL CONFERENCE ORDER
                                                 -9-

                                                                         Exhibit A Page 13
Case 2:07-cv-05744-R-AJW Document 539-2 Filed 07/20/09 Page 13 of 40 Page ID
                                 #:15020


  1                establish the primary liability of Veoh’s users, including because such
  2                users’ alleged conduct constitutes fair use, de minimus use and/or is
  3                otherwise not actionable.
  4              Fourth Affirmative Defense (Staple Articles of Commerce): Plaintiffs’
  5                claims based upon secondary liability are barred because Veoh’s products
  6                and/or services are staple articles of commerce.
  7              Fifth Affirmative Defense (No Volitional Act): Plaintiffs’ claims are
  8                barred because the alleged infringement was not caused by a volitional act
  9                attributable to Veoh.
 10              Sixth Affirmative Defense (Lack of Knowledge): Plaintiffs’ claims based
 11                upon contributory liability are barred because Veoh did not have requisite
 12                knowledge of the alleged primary infringement and did not encourage or
 13                induce the alleged primary infringement.
 14              Seventh Affirmative Defense: (No Direct Financial Benefit) Plaintiffs’
 15                claims based upon vicarious liability are barred because Veoh did not
 16                obtain a direct financial benefit from the alleged primary infringement.
 17              Eighth Affirmative Defense (No Right or Ability to Control) Plaintiffs’
 18                claims based upon vicarious liability are barred because Veoh does not
 19                have the right or ability to control the alleged primary infringement.
 20              Ninth Affirmative Defense (Fair Use): Veoh’s alleged conduct constitutes
 21                fair use.
 22              Tenth Affirmative Defense (Laches): Plaintiffs’ claims are barred by
 23                laches.
 24              Eleventh Affirmative Defense (Waiver): Plaintiffs’ claims are barred by
 25                waiver.
 26              Thirteenth Affirmative Defense (Unclean Hands): Plaintiffs’ claims are
 27                barred by unclean hands.
 28
      2096530                                                         FINAL PRETRIAL CONFERENCE ORDER
                                                 - 10 -

                                                                         Exhibit A Page 14
Case 2:07-cv-05744-R-AJW Document 539-2 Filed 07/20/09 Page 14 of 40 Page ID
                                 #:15021


  1              Fourteenth Affirmative Defense (Invalidity and Unenforceability of
  2                Copyright): Plaintiffs’ copyrights are invalid and/or unenforceable.
  3              Fifteenth Affirmative Defense (License, Consent and Acquiescence):
  4                Plaintiffs’ claims are barred by Plaintiffs’ license, consent and
  5                acquiescence to Veoh’s use.
  6              Sixteenth Affirmative Defense (Lack of Subject Matter Jurisdiction):
  7                Plaintiffs’ claims are barred for lack of subject matter jurisdiction because
  8                they lack valid registrations for the intellectual property rights asserted.
  9              Seventeenth Affirmative Defense (Abandonment and Forfeiture):
 10                Plaintiffs’ claims are barred to the extent that they have forfeited or
 11                abandoned their intellectual property.
 12              Eighteenth Affirmative Defense (Standing): Plaintiffs’ claims are barred to
 13                the extent that the Plaintiffs lack standing.
 14              Twentieth Affirmative Defense (Non-Infringing Use): Plaintiffs’ claims
 15                are barred because Veoh’s products and/or services are capable of
 16                substantial non-infringing uses.
 17              Twenty-First Affirmative Defense (Failure to Mitigate Damages):
 18                Plaintiffs’ claims are barred due to Plaintiffs’ failure to mitigate damages.
 19              Twenty-Second Affirmative Defense (Innocent Intent): Plaintiffs’ claims
 20                are barred, in whole or in part, because Veoh’s conduct was in good faith
 21                and with non-willful intent, at all times.
 22              Twenty-Third Affirmative Defense (Unconstitutionality): The statutory
 23                damages sought by Plaintiffs are unconstitutionally excessive and
 24                disproportionate to any actual damages that may have been sustained, in
 25                violation of the Due Process Clause.
 26              Twenty-Fourth Affirmative Defense (Statutes of Limitations): Plaintiffs’
 27                claims are barred by the applicable statutes of limitations.
 28
      2096530                                                           FINAL PRETRIAL CONFERENCE ORDER
                                                  - 11 -

                                                                           Exhibit A Page 15
Case 2:07-cv-05744-R-AJW Document 539-2 Filed 07/20/09 Page 15 of 40 Page ID
                                 #:15022


  1              Twenty-Seventh Affirmative Defense (Failure to Register): Plaintiffs’
  2                claims are barred in whole or part to the extent that Plaintiffs have not
  3                properly or timely registered their works with the U.S. Copyright Office.
  4                   (b)      The elements required to establish Veoh's affirmative
  5 defenses are:
  6                            (a)   Elements of First Affirmative Defense (Failure to State
  7                                  a Claim for Relief):
  8
                This defense does not have specific elements of its own, but rather turns on
  9
      the failure of UMG’ Complaint to state the elements of its own claims, which are
 10
      outlined above.
 11
                UMG's Response: UMG denies that "Failure to State a Claim for Relief" is
 12
      an affirmative defense. "Failure to State a Claim for Relief" is instead a denial that
 13
      UMG has stated proper claims for relief.
 14
                               (b)   Elements of Second Affirmative Defense (17 U.S.C. §
 15
                                     512):
 16
 17             The Digitial Millennium Copyright Act, 17 U.S.C. § 512(c) provides safe

 18 harbor when the following elements have been met:
 19       1) Defendant is a service provider;

 20             2) Defendant engages in storage at the direction of a user of material that

 21                resides on a system or network controlled or operated by or for the service

 22                provider;

 23             3) Defendant has adopted and reasonably implemented, and informs

 24                subscribers and account holders of the service provider’s system or

 25                network of, a policy that provides for the termination in appropriate

 26                circumstances of subscribers and account holders of the service provider’s

 27                system or network who are repeat infringers

 28
      2096530                                                          FINAL PRETRIAL CONFERENCE ORDER
                                                 - 12 -

                                                                          Exhibit A Page 16
Case 2:07-cv-05744-R-AJW Document 539-2 Filed 07/20/09 Page 16 of 40 Page ID
                                 #:15023


  1             4) Defendant accommodates and does not interfere with standard technical
  2                measures;
  3             5) Defendant designated an agent to receive notifications of claimed
  4                infringement described in 17 U.S.C. Section 512(c)(3), by making
  5                available through its service, including on its website in a location
  6                accessible to the public, and by providing to the Copyright Office,
  7                substantially the following information: the name, address, phone number,
  8                and electronic mail address of the agent; other contact information which
  9                the Register of Copyrights may deem appropriate.
 10             6) Defendant
 11                   a. does not have actual knowledge that the specific material or activity
 12                      using the material on the system or network is infringing;
 13                   b. in the absence of such actual knowledge, is not aware of facts or
 14                      circumstances from which infringing activity is apparent; or
 15                   c. upon obtaining such knowledge or awareness, acts expeditiously to
 16                      remove, or disable access to, the material;
 17             7) Defendant does not receive a financial benefit directly attributable to the
 18                infringing activity, in a case in which the service provider has the right and
 19                ability to control such activity;
 20             8) Upon notification of claimed infringement as described in 17 U.S.C. §
 21                512(c)(3), Defendant responds expeditiously to remove, or disable access
 22                to, the material that is claimed to be infringing or to be the subject of
 23                infringing activity
 24 17 U.S.C. §§ 512(c), (i), (k); Perfect 10 v. Amazon.com, Inc., CV 05-4753 AHM
 25 (SHx), Order Granting A9.com's Motion for Summary Judgment on Contributory
 26 Infringement, slip op. at 7 (C.D. Cal., May 12, 2009).
 27
 28
      2096530                                                           FINAL PRETRIAL CONFERENCE ORDER
                                                  - 13 -

                                                                           Exhibit A Page 17
Case 2:07-cv-05744-R-AJW Document 539-2 Filed 07/20/09 Page 17 of 40 Page ID
                                 #:15024


  1             UMG's Response: UMG contends that element (6)(a) should read: "does not
  2 have actual knowledge that the material or activity using the material on the system
  3 or network is infringing." See 17 U.S.C. § 512(c)(1)(A)(i).
  4                         (c)    Elements of Third Affirmative Defense (No Primary
  5                                Liability):
  6
                This defense does not have specific elements of its own, but rather hinges on
  7
      the fact that UMG cannot establish the elements of direct infringement by others
  8
      required to make out claims for Veoh’s secondary liability, as outlined in Section II.
  9
      B. above.
 10
                UMG's Response: UMG denies that "No Primary Liability" is an affirmative
 11
      defense. "No Primary Liability" is instead a denial that UMG can prove its claims.
 12
                            (d)    Elements of Fourth Affirmative Defense (Staple
 13
                                   Articles of Commerce):
 14
 15             Because Veoh’s software and services have substantial non-infringing uses it

 16 cannot be held secondarily liable for alleged infringement of its users. See Sony
 17 Corp. of Am. v. Universal City Studious, Inc., 464 U.S. 417 (1984).
 18             UMG's Response: Veoh has the burden of showing that its product is capable

 19 of commercially significant non-infringing uses. UMG denies that Veoh "cannot be
 20 held secondarily liable for the alleged infringement of its users" upon making this
 21 showing. One cannot infer knowledge or constructive knowledge of infringement
 22 based solely on the distribution of a product where the defendant has shown the
 23 product to be capable of commercially significant noninfringing uses. But other
 24 evidence of actual or constructive knowledge can warrant the imposition of
 25 secondary liability. Metro-Goldwyn-Mayer Studios, Inc. v. Grokster, Ltd., 545 U.S.
 26 913, 931-935 (2005); A&M Records, Inc. v. Napster, 239 F.3d 1004, 1020 (9th Cir.
 27 2001).
 28
      2096530                                                        FINAL PRETRIAL CONFERENCE ORDER
                                                - 14 -

                                                                        Exhibit A Page 18
Case 2:07-cv-05744-R-AJW Document 539-2 Filed 07/20/09 Page 18 of 40 Page ID
                                 #:15025


  1                         (e)    Elements of Fifth Affirmative Defense (No Volitional
  2                                Act):
  3             Veoh’s alleged direct infringement lacked the necessary volition. Cartoon
  4 Network v. CSC Holdings, 536 F.3d 121, 132 (2d Cir. 2008); Religious Tech. Ctr v.
  5 Netcom On-Line Commc’n Servs., Inc., 907 F. Supp. 1361, 1369-70 (N.D. Cal.
  6 1995).
  7       UMG's Response: This defense does not exist in the Ninth Circuit, see
  8 Ellison v. Robertson, 357 F.3d 1072, 1077 (9th Cir. 2004), and scholars and
  9 commentators have roundly criticized it, see, e.g., Melville B. Nimmer & David
 10 Nimmer, Nimmer on Copyright §§ 12B.06[B][2][c][i] (2007) (“requirement [of]
 11 ‘some element of volition’ should not be viewed as a free-standing feature of
 12 copyright law”); see id. (praising Ellison for rejecting volition argument).
 13 Regardless, Veoh has not stated the elements of the purported defense.
 14
                       (f)    Elements of Sixth Affirmative Defense (Lack of
 15                           Knowledge):
 16
           This defense does not have specific elements of its own, but rather hinges on
 17
    the fact that UMG cannot establish Defendant’s requisite knowledge of others’
 18
    direct infringement, an element of contributory liability for infringement as outlined
 19
    in Section II.B above.
 20
           UMG's Response: UMG denies that "Lack of Knowledge" is an affirmative
 21
    defense. "Lack of Knowledge" is instead a denial that UMG can prove its claims.
 22
 23                    (g) Elements of Seventh Affirmative Defense (No Direct
                              Financial Benefit):
 24
 25             This defense does not have specific elements of its own, but rather hinges on
 26 the fact that Plaintiffs cannot show Defendant’s requisite direct financial benefit
 27 from others’ alleged direct infringement, an element of vicarious liability for
 28 infringement, as outlined in Section II.B above.
      2096530                                                        FINAL PRETRIAL CONFERENCE ORDER
                                                - 15 -

                                                                        Exhibit A Page 19
Case 2:07-cv-05744-R-AJW Document 539-2 Filed 07/20/09 Page 19 of 40 Page ID
                                 #:15026


  1             UMG's Response: UMG denies that "No Direct Financial Benefit" is an
  2 affirmative defense. "No Direct Financial Benefit" is instead a denial that UMG can
  3 prove its claims.
  4                          (h)   Elements of Eighth Affirmative Defense (No Right or
  5                                Ability to Control):
  6
                This defense does not have specific elements of its own, but rather hinges on
  7
      the fact that Plaintiffs cannot show Defendant’s requisite right and ability to control
  8
      others’ alleged direct infringement, an element of vicarious liability for
  9
      infringement, as outlined in Section II.B above.
 10
                UMG's Response: UMG denies that "No Right or Ability to Control" is an
 11
      affirmative defense. "No Right or Ability to Control" is instead a denial that UMG
 12
      can prove its claims.
 13
                             (i)   Elements of Ninth Affirmative Defense (Fair Use):
 14
 15             One who is not the owner of the copyright may use the copyrighted work in a
 16 reasonable way without the consent of the copyright owner if it would advance the
 17 public interest.
 18             Factors bearing on whether a use is a fair use include:
 19             1.    The purpose and character of the use, including whether such use is of
 20 a commercial nature or is for nonprofit educational purposes;
 21             2.    The nature of the copyrighted work;
 22             3.    The amount and substantiality of the portion used in relation to the
 23 copyrighted work as a whole;
 24             4.    The effect of the use upon the potential market for or value of the
 25 copyrighted work;
 26             5.    Any other factors that bear on whether the use is fair.
 27 See 17 U.S.C. §107; MJI § 17.18.
 28
      2096530                                                         FINAL PRETRIAL CONFERENCE ORDER
                                                 - 16 -

                                                                          Exhibit A Page 20
Case 2:07-cv-05744-R-AJW Document 539-2 Filed 07/20/09 Page 20 of 40 Page ID
                                 #:15027


  1             UMG's Response: UMG denies that "[a]ny other factors that bear on whether
  2 the use is fair" is itself an element of fair use. Veoh must state what these factors
  3 are.
  4                          (j)   Elements of Tenth Affirmative Defense (Laches):
  5
  6                    1) Plaintiffs’ unreasonable delay in asserting its claims;

  7                    2) Resulting prejudice to Defendant.

  8 See Couveau v. Am. Airlines, 218 F.3d 1078, 1083 (9th Cir. 2000).
  9       UMG's Response: UMG proposes breaking this affirmative defense into

 10 three elements rather than two: (1) that Plaintiffs delayed in filing suit; (2) that the
 11 delay was for an unreasonable period; and (3) that the unreasonable delay was
 12 prejudicial to the defendant. Danjaq LLC v. Sony Corp., 263 F.3d 942, 952-956 (9th
 13 Cir. 2001) (dividing laches defense into three elements).
 14                          (k)   Elements of Eleventh Affirmative Defense (Waiver):
 15
                Plaintiff’s intentional relinquishment of a right with knowledge of its
 16
      existence and the intent to relinquish it. See A&M Records, Inc. v. Napster, Inc.,
 17
      239 F.3d 1004 (9th Cir. 2001).
 18
                             (l)   Twelfth Affirmative Defense (Estoppel).
 19
 20             Veoh does not intend to pursue this affirmative defense at this time.
 21
                             (m)   Elements of Thirteenth Affirmative Defense (Unclean
 22                                Hands):
 23
                The elements for unclean hands in the copyright context are: (1) inequitable
 24
      conduct by the plaintiff; (2) that the plaintiff's conduct directly relates to the claim
 25
      which it has asserted against the defendant; and (3) that the plaintiff's conduct
 26
      injured the defendant. Metro-Goldwyn-Mayer Studios, Inc. v. Grokster, Ltd., 518 F.
 27
      Supp. 2d 1197, 1223 (C.D. Cal. 2007) (citing Survivor Productions LLC v. Fox
 28
      Broadcasting Co., 2001 WL 35829270, at *3 (C.D. Cal. June 12, 2001)).
      2096530                                                         FINAL PRETRIAL CONFERENCE ORDER
                                                 - 17 -

                                                                         Exhibit A Page 21
Case 2:07-cv-05744-R-AJW Document 539-2 Filed 07/20/09 Page 21 of 40 Page ID
                                 #:15028


  1                           (n)    Elements of Fourteenth Affirmative Defense (Invalidity
  2                                  and Unenforceability of Copyright):
  3                    Plaintiffs cannot prove their case if:
  4                    1)     Plaintiff’s work is not original; or
  5                    2)     Plaintiffs is not the author of the work, did not receive a transfer
  6             of the work, or did not receive a transfer of rights in the work that would
  7             allow Plaintiffs to bring this suit.
  8 See MJI § 17.5.
  9      UMG's Response: UMG denies that "Invalidity and Unenforceability of
 10 Copyright" is an affirmative defense. "Invalidity and Unenforceability of
 11 Copyright" is instead a denial that UMG can prove its claims.
 12
                         (o) Elements of Fifteenth Affirmative Defense (License,
 13                            Consent and Acquiescence):
 14
           Plaintiffs have given a license or their consent or acquiescence, express or
 15
    implied, to Defendant to use Plaintiffs’ works. See Elvis Presley Enter., Inc., v.
 16
    Elvisly Yours, Inc., 936 F.2d 889, 894 (6th Cir. 1991)
 17
           UMG's Response: Veoh has not set forth the elements of this affirmative
 18
    defense. Veoh has the burden of showing that an implied license arose where (1)
 19
    Veoh requested the creation of a work; (2) UMG made the particular work and
 20
    delivered it to Veoh; and (3) UMG intended that Veoh copy and distribute this
 21
    work. Atkins v. Fischer, 331 F.3d 988, 992 (D.C. Cir. 2003) (quoting Lulirama Ltd.,
 22
    Inc. v. Axcess Broad Sews., 128 F.3d 872, 879 (5th Cir. 1997)).
 23
 24                      (p) Sixteenth Affirmative Defense (Lack of Subject Matter
                               Jurisdiction):
 25
 26             Plaintiffs lack valid copyright registrations for certain of its works. See
 27 Perfect 10, Inc. v. Amazon.com, Inc., 508 F.3d 1146, 1154 n.1 (9th Cir. 2007).
 28
      2096530                                                            FINAL PRETRIAL CONFERENCE ORDER
                                                   - 18 -

                                                                            Exhibit A Page 22
Case 2:07-cv-05744-R-AJW Document 539-2 Filed 07/20/09 Page 22 of 40 Page ID
                                 #:15029


  1             UMG's Response: UMG denies that "Lack of Subject Matter Jurisdiction" is
  2 an affirmative defense. "Lack of Subject Matter Jurisdiction" is instead a denial that
  3 UMG can prove its claims.
  4                          (q)   Elements of Seventeenth Affirmative Defense
  5                                (Abandonment and Forfeiture):
  6
                      1)     Plaintiff intended to surrender rights in the work; and
  7
                      2)     An act by the plaintiff evidencing that intent.
  8
      MJI § 17.19.
  9
                UMG's Response: As to element (1), UMG proposes: "Plaintiff intended to
 10
      surrender ownership rights in the work." See Ninth Circuit Manual of Model Jury
 11
      Instructions: Civil § 17.19 (2007).
 12
                             (r)   Elements of Eighteenth Affirmative Defense
 13
                                   (Standing):
 14
 15             Plaintiffs were not the owners or exclusive licensees of the works they assert

 16 at the time of the infringements they assert. See Lanard Toys Ltd. v. Novelty Inc.,
 17 511 F. Supp. 2d 1020, 1033 (C.D. Cal. 2007).
 18             UMG's Response: UMG denies that "Standing" is an affirmative defense.

 19 "Standing" is instead a denial that UMG can prove its claims.
 20                          (s)   Nineteenth Affirmative Defense (Misuse of Copyright):
 21
                Veoh does not intend to pursue this affirmative defense at this time.
 22
                             (t)   Elements of Twentieth Affirmative Defense (Non-
 23
                                   Infringing Use):
 24
 25             Because Veoh’s software and services have substantial non-infringing uses it

 26 cannot be held secondarily liable for alleged infringement of its users. See Sony
 27 Corp. of Am. v. Universal City Studious, Inc., 464 U.S. 417 (1984).
 28
      2096530                                                          FINAL PRETRIAL CONFERENCE ORDER
                                                 - 19 -

                                                                          Exhibit A Page 23
Case 2:07-cv-05744-R-AJW Document 539-2 Filed 07/20/09 Page 23 of 40 Page ID
                                 #:15030


  1             UMG's Response: Veoh's "Twentieth Affirmative Defense" mirrors its
  2 "Fourth Affirmative Defense." UMG therefore incorporates by reference its dispute
  3 with Veoh's "Fourth Affirmative Defense."
  4                         (u)    Elements of Twenty-First Affirmative Defense (Failure
  5                                to Mitigate Damages):
  6
                Veoh must establish (1) that the damages suffered by UMG could have been
  7
      avoided, and (2) that UMG failed to use reasonable care and diligence in avoiding
  8
      the damages. Sias v. City Demonstration Agency, 588 F.2d 692 (9th Cir. 1978).
  9
                UMG's Response: UMG is unaware of the failure to mitigate damages ever
 10
      being applied in the context of statutory damages.
 11
                            (v)    Elements of Twenty-Second Affirmative Defense
 12
                                   (Innocent Intent):
 13
 14                   1)    The defendant was not aware that its acts constituted

 15                   infringement of the copyright; and

 16                   2)    The defendant had no reason to believe that its acts constituted

 17                   an infringement of the copyright.

 18 MJI § 17.26.
 19       UMG's Response: UMG denies that "Innocent Intent" is an affirmative

 20 defense. Innocent and non-willful intent are simply relevant to the range of
 21 statutory damages under 17 U.S.C. § 504(c). UMG does not dispute that Veoh has
 22 set forth the elements Veoh must prove by a preponderance of the evidence to
 23 establish its alleged "innocent infringement."
 24                         (w)    Elements of Twenty-Third Affirmative Defense
                                   (Unconstitutionality):
 25
 26             Plaintiffs seek excessive statutory damages. Cf. Philip Morris USA v.
 27 Williams, 549 U.S. 346 (2007) (regarding excessive punitive damages).
 28
      2096530                                                        FINAL PRETRIAL CONFERENCE ORDER
                                                - 20 -

                                                                        Exhibit A Page 24
Case 2:07-cv-05744-R-AJW Document 539-2 Filed 07/20/09 Page 24 of 40 Page ID
                                 #:15031


  1             UMG's Response: The Due Process Clause does not apply to statutory (as
  2 opposed to punitive) damages. Lowry’s Reports, Inc. v. Legg Mason, Inc., 302 F.
  3 Supp. 2d 455, 459-60 (D. Md. 2004) (no Due Process defense to statutory damages
  4 because “[s]tatutory damages exist in part because of the difficulties in proving—
  5 and providing compensation for—actual harm in copyright infringement actions”).
  6 Accordingly, this is not an affirmative defense. Regardless, Veoh has not set forth
  7 the elements of this "affirmative defense."
  8                          (x)    Elements of Twenty-Fourth Affirmative Defense
  9                                 (Statutes of Limitations):
 10
                Plaintiffs did not bring claims within three years of them accruing. See Polar
 11
      Bear Productions, Inc. v. Timex Corp., 384 F.3d 700, 706 (9th Cir. 2004); Roley v.
 12
      New World Pictures, Ltd., 19 F.3d 479, 481 (9th Cir. 1994).
 13
                UMG's Response: Veoh has not forth the elements of this affirmative
 14
      defense. Veoh must show by a preponderance of the evidence: (1) That UMG
 15
      learned, or should have learned of Veoh’s alleged infringement more than three
 16
      years before UMG filed suit. Holbrook & Harris, eds., Model Jury Instructions:
 17
      Copyright, Trademark, and Trade Dress Litigation 75; 17 U.S.C. § 507.
 18
                             (y)    Twenty-Fifth Affirmative Defense (First Amendment):
 19
 20             Veoh does not intend to pursue this affirmative defense at this time.
 21
                             (z)    Twenty-Sixth Affirmative Defense (Preemption):
 22
 23             Veoh does not intend to pursue this affirmative defense at this time.

 24                          (aa) Elements of Twenty-Seventh Affirmative Defense
                                  (Failure to Register):
 25
 26             Plaintiffs lack valid copyright registrations. See Perfect 10, Inc. v.
 27 Amazon.com, Inc., 508 F.3d 1146, 1154 n.1 (9th Cir. 2007); Perfect 10, Inc. v.
 28
      2096530                                                           FINAL PRETRIAL CONFERENCE ORDER
                                                  - 21 -

                                                                           Exhibit A Page 25
Case 2:07-cv-05744-R-AJW Document 539-2 Filed 07/20/09 Page 25 of 40 Page ID
                                 #:15032


  1 Google, Inc., No. CV 04-9484-AHM(SHx), 2008 WL 4217837, at *1 (C.D. Cal. Jul
  2 16, 2008) (noting damages may be precluded on any unregistered works).
  3             UMG's Response: UMG denies that "Failure to Register" is an affirmative
  4 defense. "Failure to Register" is instead a denial that UMG can prove its claims.
  5                   (c)    In brief, the key evidence Veoh relies on for each affirmative
  6 defense is:
  7             1.    Evidence in Support of First Affirmative Defense (Failure to State a
  8 Claim for Relief):
  9             The key evidence Veoh will rely on to support this defense is as follows:
 10 Evidence in support of this affirmative defense is largely the same as the lack of
 11 evidence UMG has to establish the elements of its own claims, as set forth in the
 12 preceding section II(C)(1-4). Thus, Veoh will rely on the same key evidence as set
 13 forth in these preceding sections to establish this claim.
 14             2.    Evidence in Support of Second Affirmative Defense (17 U.S.C. § 512):
 15             The key evidence Veoh will rely on to support this defense is as follows:
 16             As to element (1), there is no dispute that Veoh is a service provider.
 17             As to element (2), testimony from Veoh witnesses, Veoh's terms of use,
 18 screenshots from Veoh's website and documentation regarding the functionality of
 19 Veoh's software and services. This Court has already ruled that even with Veoh's
 20 automated functions that make videos accessible, Veoh is still engaging in storage at
 21 the direction of a user of material that resides on a system or network controlled or
 22 operated by or for the service provider. (December 29, 2008 Order Denying UMG's
 23 Motion for Partial Summary Judgment, Dkt. No. 293) ("It is undisputed that all of
 24 these software functions are directed toward facilitating access to materials stored at
 25 the direction of users . . . The question is therefore whether the § 512(c) limitation
 26 on liability applies to service providers whose software performs these functions for
 27 the purpose of facilitating access to user-stored material. As already noted, the Court
 28 finds that it does. ").
      2096530                                                          FINAL PRETRIAL CONFERENCE ORDER
                                                 - 22 -

                                                                          Exhibit A Page 26
Case 2:07-cv-05744-R-AJW Document 539-2 Filed 07/20/09 Page 26 of 40 Page ID
                                 #:15033


  1             As to element (3), testimony from Veoh witnesses, Veoh's terms of use,
  2 screenshots from Veoh's website and documentation regarding the functionality of
  3 Veoh's software and services. If Veoh receives a takedown notice that a user has
  4 uploaded allegedly infringing content after that user has already received a first
  5 warning, that user’s account is promptly automatically terminated. Pursuant to this
  6 policy, Veoh has terminated thousands of user accounts. Veoh has always promptly
  7 removed content and terminated users under reasonable circumstances.
  8             As to element (4), testimony from Veoh witnesses and UMG's interrogatory
  9 response. Veoh accommodates and does not interfere with standard technical
 10 measures. Veoh is aware of no standard technical measures at issue here and UMG
 11 has identified none. Plaintiff bears the burden of challenging a defendant’s assertion
 12 that it accommodates or does not interfere with standard technical measures. UMG
 13 has not identified any such technical measure. Veoh served an interrogatory early in
 14 this case asking UMG to “[d]escribe all ‘standard technical measures’ as defined in
 15 17 U.S.C. § 512(i)(2), that you employed prior to filing this action.” UMG objected
 16 to the interrogatory as irrelevant and identified none.
 17             As to element (5), testimony from Veoh witnesses and Veoh's designation of
 18 an agent to receive notifications of claimed infringement, and screenshots. From the
 19 beginning of its service, Veoh has had an agent to receive notices of alleged
 20 infringement, and has made that information available on its website and with the
 21 Copyright Office.
 22             As to element (6), testimony from Veoh witnesses. There is no evidence that
 23 Veoh has actual knowledge that the specific material or activity using the material
 24 on the system or network is infringing or was aware of facts or circumstances from
 25 which infringing activity is apparent.
 26             As to element (7), testimony from Veoh witnesses. There is no evidence that
 27 upon obtaining such knowledge or awareness, Veoh failed to expeditiously to
 28 remove, or disable access to, the material. Instead, Veoh immediately took down
      2096530                                                       FINAL PRETRIAL CONFERENCE ORDER
                                               - 23 -

                                                                       Exhibit A Page 27
Case 2:07-cv-05744-R-AJW Document 539-2 Filed 07/20/09 Page 27 of 40 Page ID
                                 #:15034


  1 once it received infringement notices from the trade group the RIAA, and for other
  2 videos that neither UMG nor any of its representatives ever sent notices. These
  3 facts are undisputed. (RSGI ¶ 71). Whenever Veoh became aware of any allegedly
  4 infringing video, it immediately terminated access to the video. There is no
  5 evidence that Veoh ever acquired knowledge of specific infringing videos and failed
  6 to act or that Veoh materially contributed to the alleged infringements. To the
  7 contrary, Veoh's terms of use strictly prohibited infringing material.
  8             As to element 7, testimony from Veoh witnesses and financial statements.
  9 There is no dispute that Veoh has not been profitable since its inception. (RSGI ¶
 10 25). There is no evidence that Veoh has otherwise obtained a financial benefit
 11 directly attributable to the infringing activity where Veoh has the right and ability to
 12 control such activity.
 13             As to element (8), testimony from Veoh witnesses that upon notification of
 14 claimed infringement as described in 17 U.S.C. § 512(c)(3), Veoh responded
 15 expeditiously to remove, or disable access to, all allegedly infringing works in this
 16 action. Indeed, Veoh immediately took down once it received infringement notices
 17 from the trade group the RIAA, and for other videos that neither UMG nor any of its
 18 representatives ever sent notices. These facts are undisputed. Whenever Veoh
 19 became aware of any allegedly infringing video, it immediately terminated access to
 20 the video.
 21             3.    Evidence in Support of Third Affirmative Defense (No Primary
 22 Liability):
 23             The key evidence Veoh will rely on to support this defense is as follows:
 24 UMG has no evidence to establish the elements of direct infringement by others
 25 required to make out claims for Veoh’s secondary liability, as outlined in Section II.
 26 B. above. Thus, Veoh will rely on the same evidence as set forth in these preceding
 27 sections to establish this claim.
 28
      2096530                                                        FINAL PRETRIAL CONFERENCE ORDER
                                                - 24 -

                                                                        Exhibit A Page 28
Case 2:07-cv-05744-R-AJW Document 539-2 Filed 07/20/09 Page 28 of 40 Page ID
                                 #:15035


  1             4.    Evidence in Support of Fourth Affirmative Defense (Staple Articles of
  2 Commerce):
  3             The key evidence Veoh will rely on to support this defense is as follows:
  4 testimony from Veoh witnesses and agreements that show Veoh features partner
  5 content from prominent content owners such as ABC, CBS, ESPN, Viacom, and
  6 Warner Television, which UMG has not alleged is infringing. Users have uploaded
  7 more than four million videos to Veoh. There are many music videos that are
  8 authorized on Veoh, from partner content to videos published by Veoh’s users.
  9 SonyBMG music videos have been permitted on Veoh since mid-2008.
 10             5.    Evidence in Support of Fifth Affirmative Defense (No Volitional Act):
 11             The key evidence Veoh will rely on to support this defense is as follows:
 12 testimony from Veoh witnesses, Veoh's terms of use, screenshots from Veoh's
 13 website and documentation regarding the functionality of Veoh's software and
 14 services. This Court has already ruled that even with Veoh's automated functions
 15 that make videos accessible, Veoh is still engaging in storage at the direction of a
 16 user of material that resides on a system or network controlled or operated by or for
 17 the service provider. (December 29, 2008 Order Denying UMG's Motion for Partial
 18 Summary Judgment, Dkt. No. 293) ("It is undisputed that all of these software
 19 functions are directed toward facilitating access to materials stored at the direction
 20 of users . . . The question is therefore whether the § 512(c) limitation on liability
 21 applies to service providers whose software performs these functions for the purpose
 22 of facilitating access to user-stored material. As already noted, the Court finds that it
 23 does. "). In addition, testimony from Veoh witnesses that upon notification of
 24 claimed infringement as described in 17 U.S.C. § 512(c)(3), Veoh responded
 25 expeditiously to remove, or disable access to, all allegedly infringing works in this
 26 action. Indeed, Veoh immediately took down once it received infringement notices
 27 from the trade group the RIAA, and for other videos that neither UMG nor any of its
 28 representatives ever sent notices. These facts are undisputed. RSGI ¶ 71 (UMG
      2096530                                                        FINAL PRETRIAL CONFERENCE ORDER
                                                - 25 -

                                                                        Exhibit A Page 29
Case 2:07-cv-05744-R-AJW Document 539-2 Filed 07/20/09 Page 29 of 40 Page ID
                                 #:15036


  1 does not dispute that Veoh removed the material located at the specific URLs
  2 identified in the RIAA notices). Whenever Veoh became aware of any allegedly
  3 infringing video, it immediately terminated access to the video.
  4             6.    Evidence in Support of Sixth Affirmative Defense (Lack of
  5 Knowledge):
  6             UMG has no evidence to establish Veoh’s requisite knowledge of others’
  7 direct infringement, an element of contributory liability for infringement as outlined
  8 in Section II.B above. The key evidence Veoh will rely on to support this defense is
  9 as follows: evidence of Veoh's DMCA policy and procedures and compliance
 10 therewith, UMG's own inability to identify alleged infringements in this case,
 11 testimony from Veoh witnesses that upon notification of claimed infringement as
 12 described in 17 U.S.C. § 512(c)(3), Veoh responded expeditiously to remove, or
 13 disable access to, all allegedly infringing works in this action. Indeed, Veoh
 14 immediately took down once it received infringement notices from the trade group
 15 the RIAA, and for other videos that neither UMG nor any of its representatives ever
 16 sent notices. These facts are undisputed. Whenever Veoh became aware of any
 17 allegedly infringing video, it immediately terminated access to the video.
 18             7.    Evidence in Support of Seventh Affirmative Defense (No Direct
 19 Financial Benefit):
 20             The key evidence Veoh will rely on to support this defense is as follows:
 21 testimony from Veoh witnesses and financial statements. UMG cannot show
 22 Veoh’s requisite direct financial benefit from others’ alleged direct infringement. It
 23 is undisputed that Veoh has never made a profit.
 24             8.    Evidence in Support of Eighth Affirmative Defense (No Right or
 25 Ability to Control):
 26             The key evidence Veoh will rely on to support this defense is as follows:
 27 testimony from Veoh witnesses. UMG has no evidence to show Veoh’s requisite
 28
      2096530                                                        FINAL PRETRIAL CONFERENCE ORDER
                                                - 26 -

                                                                        Exhibit A Page 30
Case 2:07-cv-05744-R-AJW Document 539-2 Filed 07/20/09 Page 30 of 40 Page ID
                                 #:15037


  1 right and ability to control others’ alleged direct infringement, an element of
  2 vicarious liability for infringement, as outlined in Section II.B above.
  3             9.    Evidence in Support of Ninth Affirmative Defense (Fair Use):
  4             The key evidence Veoh will rely on to support this defense is as follows: the
  5 underlying videos themselves, subject to Veoh's Motion In Limine No. 1. to exclude
  6 introduction of these videos into the case at all. Thousands upon thousands of the
  7 alleged infringing videos are not music videos at all, let alone identifiable UMG
  8 music videos. For example, many of the videos are home videos set to music or are
  9 videos of people filming themselves playing video games set to music. And, in fact,
 10 approximately a full third of the videos are Anime (Japanese cartoons) set to music.
 11 As a result, none of these large categories of the videos put in issue by UMG would
 12 be reasonably identifiable as UMG music videos, much less actually be UMG music
 13 videos. The purpose and character of the use of these videos are generally not
 14 commercial in nature, use only a portion of the allegedly infringing work, and there
 15 is no discernible negative impact by the use upon the potential market (as shown
 16 through the expert testimony of Roy Weinstein and documents UMG produced that
 17 are cited to in the Weinstein report(s).). The videos themselves demonstrate that
 18 many are classic examples of fair use.
 19             10.   Evidence in Support of Tenth Affirmative Defense (Laches):
 20             The key evidence Veoh will rely on to support this defense is as follows:
 21 testimony from Veoh witnesses, correspondence between the parties' counsel and
 22 the complaint, that demonstrate that UMG never notified Veoh of a single
 23 infringement before filing suit on Sept. 4, 2007, and did not identify a single
 24 infringing video in its Complaint. Promptly after UMG filed suit, Veoh's counsel
 25 wrote to UMG's counsel and explained that if UMG would identify the videos it
 26 contended were infringing, Veoh would promptly disable access to the videos. In
 27 response, UMG refused to identify any allegedly infringing videos and instead
 28 insisted that Veoh should be able to figure out on its own which UMG “content”
      2096530                                                        FINAL PRETRIAL CONFERENCE ORDER
                                                - 27 -

                                                                        Exhibit A Page 31
Case 2:07-cv-05744-R-AJW Document 539-2 Filed 07/20/09 Page 31 of 40 Page ID
                                 #:15038


  1 was on its site, and that UMG was not obligated “to identify each instance in which
  2 Veoh is displaying unauthorized content.” Though Veoh again asked UMG to
  3 identify any infringing videos, UMG refused. On December 1, 2008, more than a
  4 year after filing suit (and only after Veoh filed a motion to compel the information),
  5 UMG finally identified the videos it claims were infringing.
  6             11.   Evidence in Support of Eleventh Affirmative Defense (Waiver):
  7             The key evidence Veoh will rely on to support this defense is as follows:
  8 testimony from Veoh witnesses: testimony from Veoh witnesses and documents
  9 produced that demonstrate that Veoh has received emails from UMG’s employees
 10 and agents regarding videos they uploaded to Veoh’s website. Id. at ¶ 69.
 11 Golinveaux Decl. (Dkt. No. 338), ¶ 13 and Ex. L (Veoh’s Supp. Responses to
 12 UMG’s Second Interrogatories); Simons Decl. (Dkt. No. 336-4), ¶¶ 10-11 and Exs.
 13 D-E). UMG waived its claims with respect to any of the works uploaded to Veoh
 14 by UMG's agents/employees, and waived its remaining claims by refusing to notify
 15 Veoh of any allegedly infringing works until over a year into the lawsuit. Id. ¶¶ 58-
 16 60.
 17             12.   Evidence in Support of Thirteenth Affirmative Defense (Unclean
 18 Hands):
 19             The key evidence Veoh will rely on to support this defense is as follows:
 20 testimony from Veoh witnesses and emails received by Veoh from UMG’s
 21 employees and agents regarding videos they uploaded to Veoh’s website. Id. at ¶
 22 69. Golinveaux Decl. (Dkt. No. 338), ¶ 13 and Ex. L (Veoh’s Supp. Responses to
 23 UMG’s Second Interrogatories); Simons Decl. (Dkt. No. 336-4), ¶¶ 10-11 and Exs.
 24 D-E). There is also evidence of UMG uploading videos to other websites.
 25             13.   Evidence in Support of Fourteenth Affirmative Defense (Invalidity and
 26 Unenforceability of Copyright):
 27             The key evidence Veoh will rely on to support this defense is as follows:
 28 UMG's failure to produce valid copyright registrations for certain of its works. In
      2096530                                                        FINAL PRETRIAL CONFERENCE ORDER
                                                - 28 -

                                                                        Exhibit A Page 32
Case 2:07-cv-05744-R-AJW Document 539-2 Filed 07/20/09 Page 32 of 40 Page ID
                                 #:15039


  1 addition, the fact that UMG has failed to produce chain of title documents for the
  2 alleged infringements in this action, which is still subject to a pending motion before
  3 Judge Wistrich. (See Notice of Lodging Parties' Competing Stipulations (Dkt. No.
  4 518).) Thus, Veoh has not yet obtained access to all of the evidence needed to
  5 establish this affirmative defense.
  6             14.   Evidence in Support of Fifteenth Affirmative Defense (License,
  7 Consent and Acquiescence):
  8             The key evidence Veoh will rely on to support this defense is as follows:
  9 testimony from Veoh witnesses and emails received by Veoh from UMG’s
 10 employees and agents regarding videos they uploaded to Veoh’s website. RSGI., at
 11 ¶ 69. Golinveaux Decl. (Dkt. No. 338), ¶ 13 and Ex. L (Veoh’s Supp. Responses to
 12 UMG’s Second Interrogatories); Simons Decl. (Dkt. No. 336-4), ¶¶ 10-11 and Exs.
 13 D-E).
 14             15.   Evidence in Support of Sixteenth Affirmative Defense (Lack of Subject
 15 Matter Jurisdiction):
 16             The key evidence Veoh will rely on to support this defense is as follows:
 17 UMG's failure to produce valid copyright registrations for certain of its works.
 18             16.   Evidence in Support of Seventeenth Affirmative Defense
 19 (Abandonment and Forfeiture):
 20             The key evidence Veoh will rely on to support this defense is as follows:
 21 testimony from Veoh witnesses and emails received by Veoh from UMG’s
 22 employees and agents regarding videos they uploaded to Veoh’s website. RSGI., at
 23 ¶ 69. Golinveaux Decl. (Dkt. No. 338), ¶ 13 and Ex. L (Veoh’s Supp. Responses to
 24 UMG’s Second Interrogatories); Simons Decl. (Dkt. No. 336-4), ¶¶ 10-11 and Exs.
 25 D-E).
 26             17.   Evidence in Support of Affirmative Defense (Standing):
 27             The key evidence Veoh will rely on to support this defense is as follows:
 28 UMG's failure to produce valid copyright registrations for certain of its works. In
      2096530                                                        FINAL PRETRIAL CONFERENCE ORDER
                                                - 29 -

                                                                        Exhibit A Page 33
Case 2:07-cv-05744-R-AJW Document 539-2 Filed 07/20/09 Page 33 of 40 Page ID
                                 #:15040


  1 addition, the fact that UMG has failed to produce chain of title documents for the
  2 alleged infringements in this action, which is still subject to a pending motion before
  3 Judge Wistrich. (See Notice of Lodging Parties' Competing Stipulations (Dkt. No.
  4 518).) Thus, Veoh has not yet obtained access to all of the evidence needed to
  5 establish this affirmative defense.
  6             18.   Evidence in Support of Twentieth Affirmative Defense (Non-Infringing
  7 Use):
  8             The key evidence Veoh will rely on to support this defense is as follows:
  9 testimony from Veoh witnesses that show Veoh’s software and services have
 10 substantial non-infringing uses. For example, Veoh features partner content from
 11 prominent content owners such as ABC, CBS, ESPN, Viacom, and Warner
 12 Television, which UMG has not alleged is infringing. Papa Decl. (Dkt. No. 336-
 13 10), ¶ 2. Users have uploaded more than four million videos to Veoh. Papa Decl.
 14 (Dkt. No. 336-10), ¶ 3; Supplemental Declaration of Joseph Papa in Support of
 15 Defendant Veoh Networks, Inc.’s Motion for Summary Judgment re Entitlement to
 16 Section 512(c) Safe Harbor (“Supp. Papa Decl.”) (Dkt. No. 396-4), ¶ 4. SonyBMG
 17 music videos have been permitted on Veoh since mid-2008. Metzger Decl. (Dkt.
 18 417) ¶ 2.
 19             19.   Evidence in Support of Twenty-First Affirmative Defense (Failure to
 20 Mitigate Damages):
 21             The key evidence Veoh will rely on to support this defense is as follows:
 22 Plaintiffs failed to mitigate damages by failing to notify Veoh of a single
 23 infringement before filing suit on Sept. 4, 2007, and did not identify a single
 24 infringing video in its Complaint. Promptly after UMG filed suit, Veoh's counsel
 25 wrote to UMG's counsel and explained that if UMG would identify the videos it
 26 contended were infringing, Veoh would promptly disable access to the videos. In
 27 response, UMG refused to identify any allegedly infringing videos and instead
 28 insisted that Veoh should be able to figure out on its own which UMG “content”
      2096530                                                        FINAL PRETRIAL CONFERENCE ORDER
                                                - 30 -

                                                                        Exhibit A Page 34
Case 2:07-cv-05744-R-AJW Document 539-2 Filed 07/20/09 Page 34 of 40 Page ID
                                 #:15041


  1 was on its site, and that UMG was not obligated “to identify each instance in which
  2 Veoh is displaying unauthorized content.” Though Veoh again asked UMG to
  3 identify any infringing videos, UMG refused. On December 1, 2008, more than a
  4 year after filing suit (and only after Veoh filed a motion to compel the information),
  5 UMG finally identified the videos it claims were infringing.
  6             20.   Evidence in Support of Twenty-Second Affirmative Defense (Innocent
  7 Intent):
  8             The key evidence Veoh will rely on to support this defense is as follows:
  9 Veoh's Terms of Use and Copyright Policy prohibiting infringement, and testimony
 10 from Veoh witnesses and correspondence showing that UMG never notified Veoh
 11 of a single infringement before filing suit on Sept. 4, 2007, and did not identify a
 12 single infringing video in its Complaint. Promptly after UMG filed suit, Veoh's
 13 counsel wrote to UMG's counsel and explained that if UMG would identify the
 14 videos it contended were infringing, Veoh would promptly disable access to the
 15 videos. In response, UMG refused to identify any allegedly infringing videos and
 16 instead insisted that Veoh should be able to figure out on its own which UMG
 17 “content” was on its site, and that UMG was not obligated “to identify each instance
 18 in which Veoh is displaying unauthorized content.” . Though Veoh again asked
 19 UMG to identify any infringing videos, UMG refused. On December 1, 2008, more
 20 than a year after filing suit (and only after Veoh filed a motion to compel the
 21 information), UMG finally identified the videos it claims were infringing. Upon
 22 notification of claimed infringement as described in 17 U.S.C. § 512(c)(3), Veoh
 23 responded expeditiously to remove, or disable access to, all allegedly infringing
 24 works in this action. Indeed, Veoh immediately took down once it received
 25 infringement notices from the trade group the RIAA, and for other videos that
 26 neither UMG nor any of its representatives ever sent notices. These facts are
 27 undisputed. (RSGI ¶ 71). Whenever Veoh became aware of any allegedly
 28 infringing video, it immediately terminated access to the video.
      2096530                                                        FINAL PRETRIAL CONFERENCE ORDER
                                                - 31 -

                                                                        Exhibit A Page 35
Case 2:07-cv-05744-R-AJW Document 539-2 Filed 07/20/09 Page 35 of 40 Page ID
                                 #:15042


  1             21.   Evidence in Support of Twenty-Third Affirmative Defense
  2 (Unconstitutionality):
  3             The key evidence Veoh will rely on to support this defense is as follows:
  4 testimony from Veoh witnesses and the expert report(s) of Roy Weinstein and
  5 exhibits cited therein to show why the damages sought by UMG are excessive,
  6 especially considering that the expert report of Blackburn and discovery responses
  7 confirm that UMG is unable to quantify actual damages to a reasonable degree of
  8 certainty. UMG is seeking maximum statutory damages of $150,000 per alleged
  9 work, exponentially more per work than in any license agreement the parties (either
 10 side) would justify and more than any possible actual harm, which as UMG's own
 11 damages expert, Blackburn, repeatedly testified cannot be quantified.
 12             22.   Evidence in Support of Twenty-Fourth Affirmative Defense (Statutes
 13 of Limitations):
 14             The key evidence Veoh will rely on to support this defense is as follows:
 15 testimony from Veoh witnesses and correspondence showing UMG never notified
 16 Veoh of a single infringement before filing suit on Sept. 4, 2007, and did not
 17 identify a single infringing video in its Complaint. Promptly after UMG filed suit,
 18 Veoh's counsel wrote to UMG's counsel and explained that if UMG would identify
 19 the videos it contended were infringing, Veoh would promptly disable access to the
 20 videos. In response, UMG refused to identify any allegedly infringing videos and
 21 instead insisted that Veoh should be able to figure out on its own which UMG
 22 “content” was on its site, and that UMG was not obligated “to identify each instance
 23 in which Veoh is displaying unauthorized content.” Though Veoh again asked
 24 UMG to identify any infringing videos, UMG refused.
 25             23.   Evidence in Support of Twenty-Seventh Affirmative Defense (Failure
 26 to Register):
 27             UMG has failed to produce valid copyright registrations for certain of its
 28 works. .
      2096530                                                         FINAL PRETRIAL CONFERENCE ORDER
                                                 - 32 -

                                                                         Exhibit A Page 36
Case 2:07-cv-05744-R-AJW Document 539-2 Filed 07/20/09 Page 36 of 40 Page ID
                                 #:15043


  1             8.    IN VIEW OF THE ADMITTED FACTS AND THE ELEMENTS
  2 REQUIRED TO ESTABLISH THE CLAIMS AND AFFIRMATIVE
  3 DEFENSES, THE FOLLOWING ISSUES REMAIN TO BE TRIED:
  4             (a)   Copyright infringement under the four theories asserted by UMG: (1)
  5 direct infringement of copyright under 17 U.S.C. § 106;4 (2) contributory copyright
  6 infringement;5 (3) vicarious copyright infringement;6 and (4) inducement of
  7 copyright infringement.7
  8             (b)   The following affirmative defenses: Second Affirmative Defense (“17
  9 U.S.C. § 512”);8 Ninth Affirmative Defense (“Fair Use”);9 Twenty-Fourth
 10 Affirmative Defense (“Statutes of Limitations”).10
 11             (c)   Statutory damages per work.11
 12
                4
 13            Authority: Ninth Circuit Manual of Model Jury Instructions (2007 ed.),
      Instructions Nos. 1.2, 17.0, 17.1, 17.4. This also subsumes Veoh’s Third
 14   Affirmative Defense (“No Primary Liability”), Fifth Affirmative Defense (“No
      Volitional Act”), Fourteenth Affirmative Defense (“Invalidity and Unenforceability
 15   of Copyright”), Seventeenth Affirmative Defense (“Abandonment and Forfeiture”),
      Eighteenth Affirmative Defense (“Standing”), and Twenty-Seventh Affirmative
 16   Defense (“Failure to Register”).
 17          5
               Authority: Ninth Circuit Manual of Model Jury Instructions (2007 ed.),
      Instructions Nos. 17.21. This also subsumes Veoh’s affirmative defenses of Staple
 18   Articles of Commerce (Fourth Affirmative Defense); Lack of Knowledge (Sixth
 19   Affirmative Defense); and Twentieth Affirmative Defense (“Non-Infringing Use”).
             6
               Authority: Ninth Circuit Manual of Model Jury Instructions (2007 ed.),
 20   Instructions Nos. 17.20. This also subsumes Veoh’s affirmative defenses of Seventh
 21   Affirmative Defense (“No Direct Financial Benefit ”) and its Eighth Affirmative
      Defense (“No Right or Ability to Control”).
 22          7
               Authority: Ninth Circuit Manual of Model Jury Instructions (2007 ed.),
 23   Instructions Nos. 17.21. This also subsumes Veoh’s affirmative defense of Lack of
      Knowledge (Sixth Affirmative Defense).
 24          8
               Authority: 17 U.S.C. § 512.
 25          9
               Authority: Ninth Circuit Manual of Model Jury Instructions (2007 ed.),
      Instruction No. 17.18.
 26          10
                Authority: Holbrook & Harris, eds., Model Jury Instructions: Copyright,
 27   Trademark, and Trade Dress Litigation 75.
             11
 28             Authority: Ninth Circuit Manual of Model Jury Instructions (2007 ed.),
      Instruction No. 17.25, 17.26, 17.27. This subsumes Veoh’s Twenty-First
      2096530                                                      FINAL PRETRIAL CONFERENCE ORDER
                                               - 33 -

                                                                      Exhibit A Page 37
Case 2:07-cv-05744-R-AJW Document 539-2 Filed 07/20/09 Page 37 of 40 Page ID
                                 #:15044


  1             (d)   The total number of infringed works, including whether UMG is
  2 entitled to separate statutory damage awards for separate works appearing on a
  3 single album, where the copyright registration for the latter covers all sound
  4 recordings appearing on that album; and whether UMG owns or is an exclusive
  5 licensee of all copyrights asserted in this action (if the Court does not bifurcate this
  6 issue, see Section 13).12
  7             (e)   Veoh’s equitable affirmative defenses: Tenth Affirmative Defense
  8 (“Laches”); Eleventh Affirmative Defense (“Waiver”); Thirteenth Affirmative
  9 Defense (“Unclean Hands”); and Fifteenth Affirmative Defense (“License, Consent
 10 and Acquiescence”).13
 11             (f)   Veoh’s remaining defense: Failure to State a Claim (First Affirmative
 12 Defense).
 13             9.    ALL DISCOVERY IS COMPLETE.
 14             However, Magistrate Judge Wistrich has not yet resolved Veoh's motion to
 15 compel chain of title documents. See Section 13. Further, Veoh contends that it
 16 should be allowed to depose certain UMG witnesses – Jeffrey Harleston, Ed Arrow,
 17 Jennifer Roberts, and Tegan Kossowicz – identified on UMG's witness list; UMG
 18 denies Veoh's contention. See Section 11.
 19
 20
 21
      Affirmative Defense (“Failure to Mitigate”), Twenty-Second Affirmative Defense
 22   (“Innocent Intent”), and Twenty-Third Affirmative Defense (“Unconstitutionality”).
             12
 23             Authority: Ninth Circuit Manual of Model Jury Instructions (2007 ed.),
      Instructions Nos. 1.2, 17.0, 17.1, 17.4.
 24          13
                Authority: See generally Granite State Ins. Co. v. Smart Modular Techs.,
 25   Inc., 76 F.3d 1023, 1027 (9th Cir. 1996) (“A litigant is not entitled to have a jury
      resolve a disputed affirmative defense if the defense is equitable in nature.”);
 26   Danjaq LLC v. Sony Corp., 263 F.3d 942, 962 (9th Cir. 2001) (“there is no right to a
      jury on the equitable defense of laches”); U.S. v. Kaczynski, 551 F.3d 1120, 1129
 27   (“The doctrine of unclean hands is an equitable doctrine . . . ”); Westinghouse Elect.
      v. Gen. Circuit Breaker, 106 F.3d 894, 899 (9th Cir. 1997) (acquiescence is an
 28   “equitable defense[]”).
      2096530                                                       FINAL PRETRIAL CONFERENCE ORDER
                                               - 34 -

                                                                       Exhibit A Page 38
Case 2:07-cv-05744-R-AJW Document 539-2 Filed 07/20/09 Page 38 of 40 Page ID
                                 #:15045


  1             10.   ALL DISCLOSURES UNDER FED. R. CIV. P. 26(a)(3) HAVE
  2 BEEN MADE.
  3             The joint exhibit list of the parties has been filed under separate cover as
  4 required by L.R. 16-5. Unless all parties agree that an exhibit shall be withdrawn,
  5 all exhibits will be admitted without objection at trial, except those exhibits listed
  6 below:
  7             Filed concurrently herewith is the parties' Pretrial Exhibit Stipulation, which
  8 sets forth UMG's and Veoh's objections to certain exhibits and the grounds therefor.
  9             11.   WITNESS LISTS OF THE PARTIES HAVE BEEN FILED WITH
 10 THE COURT.
 11             Only the witnesses identified in the lists will be permitted to testify (other
 12 than solely for impeachment).
 13             Each party intending to present evidence by way of deposition testimony has
 14 marked such depositions in accordance with L.R. 16-2.7. For this purpose, the
 15 following depositions shall be lodged with the Clerk as required by L.R. 32-1:
 16             (a)   David Benjamin
 17             (b)   Rio Caraeff
 18             (c)   Todd Dagres
 19             (d)   Harvey Geller
 20             (e)   Rachel Lam
 21             (f)   Wendy Nussbaum
 22             (g)   David Ring
 23             (h)   Margot Stephenson
 24             Veoh is determining whether its former Senior Vice President of Finance and
 25 Operations, Bruce Wiseman, will be unavailable for trial. If he is, UMG reserves
 26 the right to designate his deposition testimony in accordance with L.R. 16-2.7.
 27             Veoh objects to each of UMG's witnesses for which UMG has not produced
 28 for deposition on the grounds that Veoh has not been provided the opportunity to
      2096530                                                           FINAL PRETRIAL CONFERENCE ORDER
                                                  - 35 -

                                                                           Exhibit A Page 39
Case 2:07-cv-05744-R-AJW Document 539-2 Filed 07/20/09 Page 39 of 40 Page ID
                                 #:15046


  1 depose such witnesses. These witnesses include Jeffrey Harleston, Ed Arrow,
  2 Jennifer Roberts and Tegan Kossowicz.
  3             UMG denies Veoh's contention. Veoh had and waived the opportunity to
  4 depose these individuals during the applicable discovery period.
  5             12.   THE FOLLOWING LAW AND MOTION MATTERS AND
  6 MOTIONS IN LIMINE, AND NO OTHERS, ARE PENDING OR
  7 CONTEMPLATED:
  8             (a)   Veoh's Motion for Summary Judgment re: Entitlement to Section
  9 512(c) Safe Harbor;
 10             (b)   UMG's Motions in Limine Nos. 1-8;
 11             (c)   Veoh's Motions in Limine Nos. 1-7;
 12             (d)   Veoh's Motions in Limine to Exclude UMG's Experts Drs. David
 13 Blackburn and Ellis Horowitz; and
 14             (e)   Veoh's Motion to Compel UMG to Produce Chain-of-Title Documents,
 15 including the parties' recently filed Joint Stipulation regarding the same matter (Dkt.
 16 No. 522).
 17             13.   BIFURCATION OF THE FOLLOWING ISSUES IS ORDERED:
 18             The parties have discussed bifurcating the trial as between certain liability and
 19 copyright ownership issues. The parties have not, however, agreed on several
 20 details regarding this proposed bifurcation, and hence they submitted the matter,
 21 along with their individual proposals for bifurcation, to Judge Wistrich for
 22 resolution. See Dkt. No. 522. During a July 20, 2009 hearing before Judge
 23 Wistrich, the parties agreed to submit a joint stipulation to Judge Wistrich
 24 concerning this issue no later than July 27, 2009.
 25
 26
 27
 28
      2096530                                                          FINAL PRETRIAL CONFERENCE ORDER
                                                 - 36 -

                                                                          Exhibit A Page 40
Case 2:07-cv-05744-R-AJW Document 539-2 Filed 07/20/09 Page 40 of 40 Page ID
                                 #:15047


  1             14.   THE FOREGOING ADMISSIONS HAVING BEEN MADE BY
  2 THE PARTIES, AND THE PARTIES HAVING SPECIFIED THE
  3 FOREGOING ISSUES REMAINING TO BE LITIGATED, THIS FINAL
  4 PRETRIAL CONFERENCE ORDER SHALL SUPERSEDE THE
  5 PLEADINGS AND GOVERN THE COURSE OF THE TRIAL OF THIS
  6 CASE, UNLESS MODIFIED TO PREVENT MANIFEST INJUSTICE.
  7
  8 Dated: ___________, 2009               _______________________________
                                           Hon. A. Howard Matz
  9                                        United States District Court Judge
 10                                        Central District of California

 11
 12 Approved as to form and content.
 13
      Dated: July 20, 2009                 IRELL & MANELLA LLP
 14                                        Steven A. Marenberg
 15                                        Brian Ledahl
                                           Benjamin Glatstein
 16
 17                                        By:      /s
 18                                            Brian Ledahl
                                           Attorneys for Plaintiffs
 19
 20 Dated: July 20, 2009                   WINSTON & STRAWN LLP
 21
 22
                                           By:      /s (with permission)
 23
                                           Michael S. Elkin
 24                                        Thomas P. Lane
 25                                        Jennifer A. Golinveaux
                                           Rebecca Calkins
 26                                        Erin Ranahan
 27                                        Attorneys for Defendant
 28
      2096530                                                FINAL PRETRIAL CONFERENCE ORDER
                                        - 37 -

                                                                Exhibit A Page 41
